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                       EXHIBIT 2
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                                                                                               USOO776905OB2


(12) United States Patent                                                   (10) Patent No.:                   US 7,769,050 B2
       Scherzer et al.                                                      (45) Date of Patent:                         Aug. 3, 2010
(54) SYSTEMAND METHOD FOR                                                       5.835,487 A * 1 1/1998 Campanella ................ 370,316
        INTERFERENCE MITIGATION FOR                                             6,952.454 B1 * 10/2005 Jalali et al. .....      ... 375,260
        WIRELESS COMMUNICATION                                                  7,042,858 B1* 5/2006 Ma et al. .................... 370,331
                                                                                7.215,659 B1* 5/2007 Chen et al. .................. 370,338
(75) Inventors: Shimon B. Scherzer, Sunnyvale, CA                               7,424,268 B2 * 9/2008 Diener et al. ................. 455,62
                     (US); Patrick A. Worfolk, Campbell,                        7,505.397 B2* 3/2009 Lee et al. ..........         ... 370,208
                     CA (US); Armin D. Haken, San                               7,548,752 B2 * 6/2009 Sampath et al. ...           ... 455,447
                     Francisco, CA (US), Ronen vainish                    2001/0030949 A1 * 10, 2001 Molno et al. ......           ... 370,329
                      Sunnyvale CA (US); Subburajan s                     2003/0198200 A1* 10, 2003 Diener et al. .....            ... 370,329
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(73) Assignee: liter history,                                             2007/0025269 A1* 2, 2007 Padovani et al. ............ 370.252
                            pany, L.P.,            s                      2008.0049672 A1         2/2008 Barak et al. .......      ... 370,328
(*) Notice:          Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35             * cited by examiner
                     U.S.C. 154(b) by 140 days.
                                                                         Primary Examiner Chi H. Pham
(21) Appl. No.: 12/109,474                                               Assistant Examiner Kevin Mew
(22) Filed:          Apr. 25, 2008                                       (57)                      ABSTRACT
(65)                     Prior Publication Data                          Disclosed are systems and methods which provide interfer
     US 2008/O2274O1 A1 Sep. 18, 2008                                    ence mitigation by making alternative resources available
                                                                         within areas served by wireless communication links.
             Related U.S. Application Data                               Embodiments provide multiple channel availability in estab
                                                                         lishing wireless communication links to facilitate interfer
(63) Continuation of application No. 10/730,649, filed on                ence mitigation. Time domain techniques, spatial processing
     Dec. 8, 2003, now Pat. No. 7,366,202.                               techniques, and/or frequency domain techniques may be
51) Int. C                                                               implemented for spectrum management. Embodiments pro
(51) in, iMO                      2006.O1                                vide wireless base station configurations in which all or a
                            ( .01)                                       plurality of base station sectors use a same frequency channel
(52) U.S. Cl. ........ r 370/480; 370/328; 370/343                       and/or in which each sector or a plurality of sectors use all
(58) Field of Classification Search ......... 370/328–334,               frequency channels. Multi-channel strategies may be imple
               370/480, 343, 344, 380-381,437, 442–444,                  mented such as to provide dynamic selection of a “best
                370/465, 468; 455/63.1, 114.2, 278.1, 296                frequency channel, to provide transmission of identical data
     See application file for complete search history.                   on multiple channels for combining/selection at the receiver,
(56)                  References Cited                                   and/or to provide for dividing the data for transmission on
                                                                         multiple channels.
                 U.S. PATENT DOCUMENTS
       5,574,979 A * 1 1/1996 West ......................... 455, 63.1                     9 Claims, 7 Drawing Sheets




                                                                                                  IST OF
                                                                                               COMPATBLE
                                                                                                 SPATAL
                                                                                              SIGNATURES

                                                       523
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                                                                          FIG. I.
                                                     101         IDENTIFYSPECTRUM,
                                                             CHANNELIZATION, AND FRAME
                                                              ARCHITECTURE TO BE USED

                                                                  PROVIDE A DEPLOYMENT
                                                     102      CONFIGURATION PROVIDING
                                                                  COMMUNICATIONLINK
                                                                  ALTERNATIVES IN EACH
                                                                     AREA SERVICED

                                                             IMPLEMENT TECHNIOUES FOR
                                                              ASSIGNING AND UTILIZING
                                                                COMMUNICATIONLINK
                                                     103      ALTERNATIVES TO ACHIEVE
                                                             DESIRED COMMUNICATIONS


                            FRAME                           FRAME
                     a-A-sa a                           =/=a
                      DOWN LINK   UPLINK              DOWN LINK   UPLINK
                       SUB-FRAME     SUB-FRAME       SUB-FRAME         SUB-FRAME



                                 -



                      DOWNLINK
                      GROUP it




        FIG. 4A                                                     410
         2       2          6         6          6            2            6      O-2312   4
       FRAME DURATION ADDRESSADDRESSADDRESS SEOUENCE ADDRESS FRAME g
      CONTROL   MD          1         2          3         CONTROL         4.       BODY


        FIG. 4B                                                             420
         2       2          6                              O-2047                          4
       FRAME DURATION ADDRESS               802.16 MAC PDU (802.16 MAC
      CONTROL   /ID         1        HEADER-i-OPTIONAL SUB-HEADERS--PAYLOAD)
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                                                         LIST OF
                                                       COMPATIBLE
                                                         SPATIAL
                                                      SIGNATURES or

                     523                      533
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     FIG. 6             FRAME i               FRAME i-1            FRAME i-2
                                                                                   TIME
                                       -         RADIO        ".        RADIO
                                  -1         TURNAROUND            STURNAROUND
                             -1                     TIME            Y TIME

                                                                                CONTENTION

                                   DOWNLINK                             s       ------
                 -1                    PERIOD                           f's               s---




      SECTOR 4        ...                  ------------------
                 S=          S=                 D             =
                        too i                   of     i            i




                                                FIG. 7
      SECTOR 1

      SECTOR2               |X |                |
                                               |X| X| |X
      SECTOR 3                             X    X    X X
      SECTOR 4                               X     X X X
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                        DEGREE OF                             DEGREE OF
                      PARALLELISM 1                         PARALLELISM 4
      FIG. 8

          S1   S                      PARALLELSM 2          PARALLELISM3
           1         S3      S4


                   S12 S13 S14 S23 S24 S34




     21                                              2012

        BASE 210a                            SUBSCRIBER
                                               STATION
       STATION




                                             SUBSCRIBER
                                               STATION               leaf




                                                     201e
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       90-N RECEIVE NEW BW REGUEST
       902            GET GROUP ID'g'

       903     RETRIEVE CORRESPONDING
                    RADiO VECTOR

              904
                               IS           NO             FIG. 9
                   RADIO VECTOR ALREADY
                          ACTIVE


               905
                       REOUEST FROM
                   DIFFERENT SECTOR WITH
                          SAME'g?                                       908
                                                            D
                                                           Tavailable
                                                             D
                                                           Tiemand?

                                                           D
                                                           available          NO
                                                     U              D
                                                    'available demand
                                                                ?
                               alloc
                              "demand
                    906
                          D
                          availablet
                      D             D
                     'allocate'demand
              910

                           D
                          availablet
               D           U            D
             'allocate available demand
             911

                           REJECT
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                                                     US 7,769,050 B2
                              1.                                                               2
            SYSTEMAND METHOD FOR                                    Institute of Electronic and Electrical Engineers (IEEE)
         INTERFERENCE MITIGATION FOR                                802.11 and 802.16 standards. The 802.11 standard is directed
           WIRELESS COMMUNICATION                                 toward indoor applications and sets forth asynchronous pro
                                                                  tocols for short range communications, while the 802.16 stan
   This application is a continuation of Ser. No. 10/730,649. dard is directed toward outdoor applications and sets forth
filed Dec. 8, 2003, now U.S. Pat. No. 7,366,202.                  synchronous protocols for longer range communications,
                                                                  each being operable in unlicensed spectrum Such as within
                 RELATED APPLICATIONS                             the 2 to 11 GHz range. Implementation of such standards
                                                                  facilitates equipment cost reduction by providing for compat
   The present invention is related to co-pending and com 10 ibility and economy of scale. However, technologies adopting
monly assigned U.S. patent application Ser. No. 10/306,972 the foregoing standards heretofore have not adequately
entitled “Space-Time-Power Scheduling for Wireless Net addressed the issues associated with commercial or economic
works, filed Nov. 27, 2002, the disclosure of which is hereby deployment of wireless broadband access. For example,
incorporated herein by reference.                                 although addressing aspects Such as communication proto
                                                               15 cols, the standards alone do not provide for spectrum utiliza
                      TECHNICAL FIELD                             tion suitable for reliable or large scale wireless broadband
                                                                  aCCCSS,
   The invention relates generally to wireless communication         Traditional wireless services rely upon licensed spectrum,
and, more particularly, to interference mitigation for wireless in which the use of the spectrum is highly regulated Such that
communication.                                                    sources of interference are avoided, in order to provide for
                                                                  spectrum utilization Suitable for reliable or large scale access.
           BACKGROUND OF THE INVENTION                            However, that spectrum is expensive and is very difficult to
                                                                  obtain. Unlicensed bands, although providing a readily avail
   The use of wireless communication links, whether for           able and inexpensive alternative, present a cost in that the
Video, Voice, or data, have become prevalent in recent years, 25 spectrum is open to many simultaneous uses and thus prone to
particularly in light of the widespread adoption of mobile interference leading to link degradation and even blocking.
technology, such as cellular telephones, laptop computers,        Such disadvantages are particularly prevalent in outdoor
personal digital assistants (PDAs), pagers, and the like. Wire applications, where interference from uncontrolled sources
less communication links are particularly desirable with can travel long distances, Substantially unimpeded.
respect to Some situations, such as to avoid obstacles associ 30 Accordingly, a need exists in the art for systems and meth
ated with laying cable between communication nodes, pro ods providing for utilization of spectrum suitable for reliable
viding freedom of movement, etcetera. Accordingly, wireless and/or large scale wireless access. Particularly, a need exists
communication links have been given much consideration by in the art for systems and methods which mitigate interfer
communication infrastructure providers. However, deploy ence with respect to wireless communication links, such as
ing wireless communication links is not without difficulty. In 35 those operable in unlicensed bands.
particular, wireless spectrum is often highly regulated and
may be prone to interference.                                              BRIEF SUMMARY OF THE INVENTION
   Wireless broadband access has been considered quite
extensively in recent years. Although multiple solutions have        The present invention is directed to systems and methods
been experimented with, attempts at providing wireless 40 which provide interference mitigation by making alternative
broadband access, particularly widespread access, has gener resources available within areas served by wireless commu
ally not met with commercial Success due to inadequate eco nication links. Embodiments of the invention provide mul
nomical conditions, i.e., high cost without Sufficient demand. tiple channel availability in establishing wireless communi
In particular, the need for licensed spectrum in which to cation links to facilitate interference mitigation. For example,
provide wireless links has typically resulted in high costs to 45 systems of the present invention may use time synchronous
wireless broadband access providers. Moreover, past wireless transmissions and scheduling to allow all or a plurality of
broadband access Solutions have typically implemented non available channels to be used throughout a service area and/or
standard or application specific equipment, due to each pro the network, thereby eliminate the need for cellular frequency
vider developing a unique solution tailored to their particular planning according to Some embodiments. Accordingly,
Solution, circumstances, and spectrum, thereby preventing 50 communication between nodes can be carried out over mul
economies of scale and compatibility.                             tiple channels and/or dynamically selected channels to pro
   Demand for Such wireless broadband access has generally vide for channel diversity. Channel diversity according to
been associated with applications and appears to be corre preferred embodiments provides strong immunity to interfer
lated to at least Some degree to the cost of the service and ence providing desired levels of quality of service (QoS) and
equipment, the complexity of the implementation, and the 55 enables utilization of spectrum suitable for reliable and/or
reliability of the links. The proliferation of wired broadband large scale wireless access. Embodiments of the present
access. Such as via cable modem and digital Subscriber line invention are well suited for providing the aforementioned
(DSL), is stimulating the creation of applications requiring advantages with respect to the use of unlicensed spectrum in
relatively large amounts of bandwidth, such as music down providing wireless communication links, and particularly in
loading, video streaming, multi-media presentations, etcet 60 providing wireless broadband access using unlicensed spec
era. However, a large number of nodes desirous of imple trum.
menting Such emerging applications are not yet wired for             Preferred embodiments of the present invention implement
broadband access and, therefore, cannot adequately access time domain techniques (such as may include transmission
Such applications.                                                scheduling, high rank modulation, and coding), spatial pro
   Two related wireless technologies are beginning to gain 65 cessing techniques (such as may include grouping nodes by
acceptance in providing at least Some level of wireless broad spatial attributes), as well as frequency domain techniques for
band access, these being wireless technologies based on the spectrum management. Implementation of embodiments of
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the invention using Such time domain, spatial processing, and by the RFMU scheduler and provides real time scheduling
frequency domain techniques provides a dramatic increase of among the SSS of an assigned group. The foregoing approach
spectrum usage efficiency. In particular, using space/time/ allows high efficiency while minimizing the processing
frequency scheduling according to embodiments of the power utilized in implementing Such scheduling.
present invention facilitates the co-existence of many simul         The foregoing has outlined rather broadly the features and
taneous communications in a particular space/spectrum technical advantages of the present invention in order that the
range, without implementing traditional frequency planning detailed description of the invention that follows may be
(e.g., cellular frequency reuse planning).                        better understood. Additional features and advantages of the
   Accordingly, embodiments of the present invention pro invention will be described hereinafter which form the sub
vide wireless base station (BS) configurations in which all or 10 ject of the claims of the invention. It should be appreciated
a plurality of base station sectors use a same frequency chan that the conception and specific embodiment disclosed may
nel. Moreover, embodiments of the present invention provide be readily utilized as a basis for modifying or designing other
wireless base station configurations in which each sector or a structures for carrying out the same purposes of the present
plurality of sectors use all frequency channels. One Such invention. It should also be realized that such equivalent
embodiment provides a wireless broadband access network 15 constructions do not depart from the invention as set forth in
in which all frequency channels are used throughout the Ser the appended claims. The novel features which are believed to
vice area of the network, while interference associated with      be characteristic of the invention, both as to its organization
their simultaneous use is mitigated. Having availability of a and method of operation, together with further objects and
plurality of frequency channels throughout a service area advantages will be better understood from the following
provides options with respect to use of a multi-channel trans description when considered in connection with the accom
mission strategy. For example, an ability to choose among panying figures. It is to be expressly understood, however,
frequency channels may be instrumental when a frequency that each of the figures is provided for the purpose of illus
channel is “contaminated with interference from other radi        tration and description only and is not intended as a definition
ating sources, such as radiating sources unrelated to a par of the limits of the present invention.
ticular wireless communication network which are operating 25
on frequency channels that are part of the unlicensed spec               BRIEF DESCRIPTION OF THE DRAWINGS
trum.
   Multi-channel strategies of the present invention may be        For a more complete understanding of the present inven
implemented in a number of different ways. For example, a tion, reference is now made to the following descriptions
multi-channel strategy may provide dynamic selection of a 30 taken in conjunction with the accompanying drawing, in
“best frequency channel, e.g., based on channel quality, out which:
of a plurality of available channels. Additionally or alterna      FIG. 1 shows a high level flow diagram setting forth steps
tively, a multi-channel Strategy may provide transmission of for implementing wireless broadband access according to an
identical data on multiple channels for combining/selection at
the receiver. Such as based on cyclic redundancy checking 35 embodiment       of the present invention;
                                                                   FIG. 2 shows an embodiment of a wireless broadband
(CRC) or other metrics. Similarly, a multi-channel strategy access system topology as may be implemented according to
may provide for dividing the data for transmission on mul the       steps of FIG. 1;
tiple channels, such as using interleaving and coding tech
niques, with a reverse process being implemented at the            FIG. 3 shows an 802.16 like frame structure as may be
receiver (e.g., “time? frequency coding”). Selection of a par 40 implemented according to an embodiment of the invention
ticular frequency channel using the forgoing multi-channel for Scheduled communication with groups of Subscriber sta
strategies, and perhaps selection of a particular multi-channel tions;
strategy to utilize, may depend on Such attributes as the nature   FIG. 4A shows a typical IEEE 802.11 over-the-air frame;
of the transmission channel and the statistics of the interfer          FIG. 4B shows an embodiment of an over-the-air frame
CCC.                                                             45   which may be used with respect to wireless broadband access
  Embodiments implement admission control techniques to               system of FIG. 2 according to an embodiment of the inven
limit the number of communication flows that are admitted to          tion;
the system based on various system parameters, such as QoS.           FIG. 5 shows partial ordering of subscriber station groups
capacity, bandwidth, etcetera. Additionally or alternatively, based on a spatial signature of the group according to an
embodiments implement access and communication flow 50 embodiment of the invention;
scheduling based on space, time, and/or frequency param               FIG. 6 shows a frame layout of allocations across 4 sectors
eters.                                                             as may be implemented using a scheduler of the present
   Space/time/frequency scheduling according to an embodi invention;
ment of the invention employs a two-tier scheduling strategy.
A first tier scheduler may preferably be executed in a central 55 theFIG.  7 shows the subscriber station groups of FIG. 5 from
                                                                       viewpoint of base station sector 1:
control RF manager unit (RFMU) and assign transmission                FIG. 8 shows schedules of active radios vectors corre
time period opportunities, perhaps at a relatively 'slow pace.”
to wireless nodes (WNs) of the base stations to support groups sponding to the subscriber station groups of FIG. 5:
of subscriber stations (SSs). Such transmission time period           FIG. 9 shows a flow diagram setting forth operation of a
opportunities may be assigned by an RFMU based upon             60 reservation manager in servicing bandwidth requests accord
relative spatial conditions between WNs, uncontrolled inter ing to one embodiment of the invention;
ference levels, signal propagation levels, traffic loads, QoS         FIG. 10 shows communication front end circuitry adapted
metrics, and/or the like. A second tier Scheduler may prefer to provide post data selection according to one embodiment
ably be executed at each BS and provide real time scheduling, of the invention;
such as based on traffic load per individual SS and/or QoS 65 FIG. 11 shows communication front end circuitry adapted
metrics. According to preferred embodiments, each WN to provide time/frequency coding according to one embodi
serves SSs within the subscriber groups allocated to the WN ment of the invention; and
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                           5                                                                      6
  FIG. 12 shows a portion of a wireless broadband access               Implementing robust communication operations accord
network operable in an unlicensed band according to one             ing to embodiments of the present invention as described
embodiment of the invention.                                        above may utilize different channels in the uplink and down
                                                                    link communication links, due to the expectation that inter
    DETAILED DESCRIPTION OF THE INVENTION                           ference conditions may be appreciably different in each link
                                                                    direction.
   Directing attention to FIG. 1, a high level flow diagram     FIG. 2 illustrates an embodiment of a wireless broadband
setting forth steps for implementing wireless broadband access system topology as may be implemented according to
access according to an embodiment of the present invention is the steps of FIG. 1. The embodiment of wireless broadband
shown. Having determined that wireless broadband access is 10 access system 200 of FIG. 2 includes a base station (BS)
to be provided, spectrum to be used, and channelization and having a plurality of wireless nodes (WNs), shown as WNs
frame architectures to be implemented in establishing com 210a-212a associated with sector 1, 210b-212b associated
munications via wireless communication links in the selected        with sector 2, 210C-212c associated with sector 3, and 210d
spectrum are identified (step 101). A configuration for 210d associated with sector 4, providing wireless communi
deploying wireless broadband infrastructure to provide com 15 cation links throughout a service area to a plurality of Sub
munication link resource alternatives throughout a service scriber stations (SSs), shown as 201a-201m. It should be
area is provided (step 102). Techniques are implemented appreciated that embodiments of the invention may comprise
(step 103) for assigning and utilizing wireless communica any number of WNs and/or sectors determined to provide
tion link alternatives to achieve desired communication             Suitable communication link resource alternatives throughout
objectives, such as to provide a desired QoS as may be mea a service area.
sured by bandwidth, delay, jitter, loss rate, and/or other            The WNs of the illustrated embodiment may comprise any
attributes.
                                                                    number
   Where unlicensed spectrum is to be utilized in providing (APs), routers,   of configurations, such as wireless access points
information communication, such as for implementing wire service providerSwitches,    equipment,
                                                                                                etcetera, as may comprise CPE,
                                                                                                  and/or the like. WNs are prefer
less broadband access, the Sources of interference are not 25 ably associated with relay communication
limited primarily to devices in the communication network to one embodiment, WNs utilized accordinglinks.           to
                                                                                                                         According
                                                                                                                       the invention
(referred to herein as internal interference sources), but may each operate on a different frequency channel, and             thus a
include any number of devices external to the communication plurality of WNs are provided with respect to sectors provid
network (referred to herein as external interference sources). ing multiple frequency channels therein as shown. Radio
Cooperative operation among network devices, e.g., synchro 30 frequency management unit (RFMU) 220 is shown coupled
nization and spatial Scheduling, may be used to address inter to WNs 210a-210d, 2.11a-211d, and 212a-212d to provide
ference associated with internal interference sources. How
ever, Such techniques are ineffective at addressing scheduling control as described in detail below.
interference associated with external interference sources.           The SSs of FIG. 2 may comprise any number of user or
Moreover, typical implementations of synchronization and 35 customer premise equipment (CPE) configurations, such as
spatial scheduling rely upon predefined and inflexible chan personal computer systems (e.g., 201c), personal digital
nel reuse plans permeating the communication network in assistants (PDAS) (e.g., 201h), wireless access points (e.g.,
order to provide for multi-channel transmission approaching 201a), routers, Switches, etcetera, enabled to communicate
an optimized use of resources.                                      via wireless links. As illustrated in FIG. 2, SSs may be asso
   Providing communication link resource alternatives, such 40 ciated with terminal network links, such as may be associated
as multiple channels, throughout the service area according to with termination equipment, and may be associated with
embodiments of the present invention provides communica relay communication links, such as are associated with wire
tion link diversity, Such as in the form of channel usage less access points, routers, Switches, etcetera.
diversity, and thus may be utilized to provide robust commu           The foregoing devices may provide information to and
nication operations. In an embodiment wherein multiple 45 between any number of devices and networks, such as to
channels are made available throughout all portions of a ser provide access to server 251 via local area network (LAN)
Vice area, particular channels for use in a communication link 250 by any or all of SSs 201a-201 m, WNs 210a-210d., 211a
may be dynamically selected by each side of the communi 211d, and 212a-212d, and/or RFMU 200. Similarly, net
cation link, Such as based upon a continuous channel activity works, such as the public switched telephone network
evaluation, to mitigate interference associated with external 50 (PSTN) 230 and Internet 240, may provide communication
interference sources. Additionally or alternatively, transmis links to a variety of devices, as is well known in the art.
sion of information to a particular network device may be             Although RFMU 220 is illustrated coupled to one BS (here
executed simultaneously or quazi-simultaneously on mul BS 221) for simplicity, wireless broadband access network
tiple channels to mitigate interference associated with exter 200 may comprise a plurality of BSs and RFMU 220 may be
nal interference sources. Spatial segregation, e.g., directional 55 coupled thereto for coordinating the operation thereof. Like
and/or narrow beam antenna configurations, may be utilized wise, although a single RFMU is illustrated in FIG. 2,
according to embodiments to increase channel activity vari embodiments of the present invention may implement a plu
ability options with respect to the various network devices rality of RFMUs, if desired. For example, a plurality of
deployed in the communication network. According to one RFMUs may be disposed in wireless broadband access net
embodiment, spatial scheduling is implemented by creation 60 work 200 to provide a distributed processing configuration in
of network device groupings to optimize channel usage while which scheduling control processing is distributed among
mitigating interference.                                            such RFMUs. Additionally or alternatively, scheduling func
   In operation according to the foregoing, network devices tionality of an RFMU of embodiments of the invention need
may use forward error correction (FEC), automatic request not be provided by a discrete management unit. For example,
for repetition (ARQ), re-tries, fragmentation, data rate adjust 65 scheduling functionality of an RFMU as described herein
ment, variable modulation techniques, and/or the like when may be disposed within one or more BSs of wireless broad
communicating over the selected channel or channels.                band access network 200.
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   Any of the foregoing network devices (e.g., SSs, WNs, according to embodiments of the present invention, Such as
BSs, RFMUs) may comprise processor-based systems con code division multiple access (CDMA), if desired.
figured to provide operation as described herein. For                  Various techniques may be implemented in establishing
example, one or more of SSs 201a-201 m, WNs 210a-210d. downlink (e.g., transmission from a WN to a SS) and uplink
211a-211d, and 212a-212d, BS 221, and RFMU 220 may (e.g., transmission from a SS to a WN) communication iso
comprise a general purpose processor-based system having a lation according to embodiments of the invention. For
central processing unit (CPU) (e.g., from the Intel PENTIUM example, frequency division duplexing (FDD) may be imple
family of processors), memory (e.g., random access memory mented wherein different frequency division channels are
(RAM), read only memory (ROM), magnetic storage, optical used in the downlink and uplink communication links (e.g.,
storage, etcetera), and appropriate input/output devices (e.g., 10 fl-fa for downlink communication and f-f for uplink
network interface card (NIC), display monitor, keyboard, communication). However, preferred embodiments of the
pointing device, modem, microphone, speakers, printer, invention implement time division duplexing (TDD),
etcetera) operable under control of an instruction set to pro wherein downlink communication is isolated from uplink
vide desired operating functions.                                   communication in time. A split between downlink and uplink
   Although particular communication link types are illus 15 portions of a communication sequence may be asymmetric,
trated in FIG. 2, it should be appreciated that the link types perhaps dynamically adjusted to accommodate a current
shown are exemplary to aid in the understanding of the downlink and uplink communication capacity balance, thus
present invention and are not illustrative of any limitation of implementing an ATDD technique.
the application of the concepts of the invention. For example,         Embodiments of the present invention provide for making
although shown using wireline communication between BS alternative channels available within each WN sector, e.g.,
221 and RFMU 220, between BS 221 and the PSTN, between              multiple ones of frequency channels f-f may be utilized
BS 221 and Internet 240, between BS 221 and LAN 250,                with respect to one or more WN sectors to provide alterna
between LAN 250 and server 251, and between SS 201e and             tives with respect to channels used in establishing communi
SS 201f any form of suitable communication link may be cation links with particular SSs. However, preferred embodi
implemented with respect to the present invention. Accord 25 ments of the present invention do not implement a frequency
ingly, wireless links (e.g., links the same as those illustrated reuse plan (e.g., a typical cellular frequency reuse plan) which
between WNs and SSs, cellular links, bluetooth links, etcet         limits the reuse of Such frequency channels in adjacent/ad
era), optic links (e.g., fiber optic, free space optic links, etcet joining sectors or even adjacent/adjoining BSs. Instead,
era), network links (e.g., LAN, metropolitan area network embodiments of the present invention allow for use of the
(MAN), wide area network (WAN), intranet, extranet, the 30 same frequency channel (e.g., any off-f) in adjacent/adjoin
Internet, the PSTN, etcetera) and/or the like may be utilized as ing sectors and/or adjacent/adjoining BSs, as will be better
desired.                                                            understood from the discussion which follows. A preferred
   Similarly, the link paths shown are exemplary to aid in the embodiment of the present invention allows for use of all the
understanding of the present invention and are not illustrative frequency channels (e.g., all off-f) in adjacent/adjoining
of any limitation of the application of the concepts of the 35 sectors and adjacent/adjoining BSS. It should be appreciated
invention. Accordingly, communication between network that, given the nature of unlicensed spectrum communica
devices is not restricted to the particular paths shown. For tions being Subject to external interference, the use of mul
example, communication links (wireless or otherwise) may tiple channels (preferably all channels) in each sector of the
be established between WNs 210a-210d., 211a-211d, and               communication network facilitates channel usage diversity
212a-212d to provide backhauling or through connectivity, if 40 according to the present invention, thereby providing robust
desired. Additionally, SSs 201a-201m are not restricted to the communication operation.
particular communication links illustrated and, therefore,             Embodiments of the present invention provide robust inter
may establish communication links with one or more of WNs ference mitigation, such as with respect to interference asso
210a-210d., 211a-211d, and 212a-212d different than illus           ciated with external interference sources, using availability of
trated (as well as one or more WNs of other BSs (not shown)). 45 multi-channel service through a wireless broadband access
   BS 221 of FIG. 2 is shown having a sectorized configura network. For example, configurations implementing the con
tion, e.g., directional antenna beams or other radiation pattern cepts of the present invention provide for adaptive dynamic
controls are utilized to provide isolation or separation of channel selection such that the best channel out of several
wireless communications within Sub-areas associated with            available channels may be selected for providing a commu
each sector. Specifically, the illustrated embodiment includes 50 nication link between particular network node pairs. Addi
sectors 1 through 4, each providing approximately 90'               tionally or alternatively, embodiments may implement post
azimuthal service area coverage with respect to each of WNs data selection, Such that transmission of identical data on
210a-210d., 211a-211d, and 212a-212d. Of course, different          multiple channels is provided for combining/selection at the
numbers and sizes of sectors, or other service area portions, receiver based on metrics such as cyclic redundancy code
may be implemented or no sectors utilized, according to 55 (CRC). Similarly, embodiments may implement time/fre
embodiments of the present invention.                               quency coding. Such that data is divided for transmission on
   A preferred embodiment of wireless broadband access sys multiple channels after interleaving and coding for combin
tem 200 implements a plurality of frequency division mul ing/decoding at the receiver based on a reverse process.
tiple access (FDMA) channels. For example, frequency chan Selection of one or more Such interference mitigation tech
nels f-f may be implemented for providing simultaneous 60 nique to implement with respect to particular communica
and Substantially non-mutually interfering communications tions may depend upon a number of factors, such as the nature
with respect to a plurality of SSs 201a-201m. The foregoing of the transmission channel, the interference statistics, etcet
frequency channels may further be divided into slots or indi era. Control with respect to the foregoing interference miti
vidual time slices (e.g., time division multiple access gation techniques may be provided by centralized and/or
(TDMA)), thereby providing further channelization for non 65 decentralized management algorithms, such as those of
mutually interfering communications. Of course, additional RFMU 220, WNs 210a-210d, 211a-211d, and 212a-212d,
or alternative channelization techniques may be implemented and/or SSS 201a-201m.
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   A post data selection interference mitigation technique the same data the frame error probability may be on the order
implemented according to one embodiment provides for mul of a probability of 0.01 (1%). Although it may appearinitially
tiple copies of the data to be simultaneously transmitted over that implementation of the foregoing post data selection inter
multiple channels. Accordingly, when the multiple copies of ference mitigation technique will cause greater interference
the data arrive at the destination network node, a single, valid 5 to other transmissions, the interference to other transmission
copy of the data may be sorted out of the multiple transmis is expected to be greatly reduced. Specifically, the frame error
sions. For example, data validation techniques, such as CRC, probability reduction for the exemplary two channel trans
may be utilized with respect to the multiple copies of the data mission is equivalent to gain that is much larger than x2,
to identify a valid data set for use by the network node.           hence the interference to other transmissions can be reduced
   Directing attention to FIG. 10, communication front end 10 by more than the x2 channel utilization increase. For
circuitry 1000, as may be implemented with respect to any of example, the reduction in probability of frame-error-rate
SSs 201a-201 m and WNs 210a-210d., 211a-211d, and 212a              (FER) allows faster transmission of data, using the channels
212d. is shown adapted to provide post data selection accord for shorter periods, and/or the use of less transmission power.
ing to one embodiment. The illustrated embodiment includes             The foregoing post data selection interference mitigation
transceiver 1010 wherein N radios (shown as radios 1011a 15 technique is well suited to use of the multiple available chan
1011n) and N MACs (shown as wMACs 1012a-1012n) are nels of embodiments of a wireless broadband access network
operable in synchronization with respect to different fre according to embodiments of the present invention. More
quency channels. Each of radios 1011a-1011n is simulta over, post data selection interference mitigation techniques as
neously transmitting/receiving frames of the same length and described herein can readily be implemented using existing
including the same data, albeit on a different frequency chan hardware. However, the use of multiple channels to simulta
nel, according to one embodiment.                                   neously transmit the same data according to post data selec
   In providing for transmission of data in a post data selec tion interference mitigation embodiments described herein
tion interference mitigation technique according to one results in relatively limited efficiency. For example, when
embodiment, frames of variable lengths may arrive at frame more than one channel is interference free, the maximum
aggregator/de-aggregator unit 1030 for packing into fixed 25 throughput is limited to a single channel's performance. If,
length frames. According to a preferred embodiment, the due to distance for example, use of a channel provides for
packing process maintains the main bodies and MAC headers only 15 Mb/s to be transmitted, a post data selection based
of the original frames while encapsulating the frames into a system might only provide 15 Mb/s of throughput regardless
new “packed frame' with new MAC and PHY headers and of the number of channels which are simultaneously capable
CRC trailers. Control and frame selector unit 1020 may 30 of this data rate. Such a lack of efficiency may be particularly
receive the fixed length frames from frame aggregator/de exacerbated in situations, such as where large distances
aggregator unit 1030 and pass the frames in parallel to each of between transceivers are supported, such as by allowing low
wMACs 1012a-1012n for transmission by corresponding data rate (e.g., 256 Kb/s).
ones of radios 1011a-1011n.                                            A time/frequency coding interference mitigation technique
   In providing for reception of data in a post data selection 35 implemented according to one embodiment provides for effi
interference mitigation technique according to one embodi cient usage of the available spectrum, and consequently may
ment, packed frames are received by each of radios 1011a be utilized to increase the effective distance between network
1011n and are passed to corresponding ones of wMACs nodes. Directing attention to FIG. 11, communication front
1012a-1012n. The received frames are passed to control and end circuitry 1100, as may be implemented with respect to
frame selector unit 1020, wherein control and frame selector 40 any of SSs 201a-201m and WNs 210a-210d, 2.11a-211d, and
unit 1020 selects a “good frame, such as based on its CRC. 212a-212d. is shown adapted to provide time/frequency cod
The selected packed frame may then be passed to frame ing according to one embodiment. The illustrated embodi
aggregator/de-aggregator unit 1030 for de-aggregation to its ment includes transceiver 1110 wherein N radios (shown as
original components (e.g., the incoming frames discussed radios 1111a–1111n) and N MACs (shown as wMACs
above).                                                          45 1112a-1112m) are operable in synchronization with respect to
   To provide for efficiencies in transmission, acknowledge different frequency channels. Each of radios 1111a–1111n is
ments can be cumulative, Such as by providing an ACK frame simultaneously transmitting/receiving frames of the same
as part of the payload of the frames being transmitted at the length, albeit on a different frequency channel and including
opposite direction. When one of the original frames aggre differing information, according to one embodiment.
gated into a packed frame is found to be erroneous, a bit map 50 Similar to operation of frame aggregator/de-aggregator
may be used to indicate this failure so that only this particular unit 1030 discussed above, frame aggregator/de-aggregator
frame will be re-sent with a later packed frame.                    unit 1150 provides packing and unpacking of frames. Accord
   Post data selection interference mitigation techniques, ingly, packed frames are passed between frame aggregator/
Such as the foregoing example, capitalize on the fact that de-aggregator unit 1150 and encoder/decoder 1140. Encoder/
interference on the channels is typically highly un-correlated. 55 decoder 114 of a preferred embodiment provides block
For example, using one frequency channel for transmission of encoding using various encoding/decoding techniques. Such
data (e.g., one radio/MAC pair for the communication link) as convolutional, turbo codes etcetera. Preferably, the coding
the frame error probability may be predicted or measured, rate implemented is variable. Such as from no coding to /10
such as may be on the order of a probability of 0.1 (10%). rate or higher. If there is not enough data for the fixed size
However, the use of a second frequency channel for simulta 60 frame, additional null bits may be concatenated as needed
neous transmission of the same data (e.g., two radio/MAC according to one embodiment. Encoded frames are passed
pairs for the communication link) does not decrease the frame between encoder/decoder 114 and interleaver/deinterleaver
error probability by half, but rather results in an order of 1130 for interleaving/deinterleaving data for simultaneous
magnitude decrease in probability due to the un-correlated communication via N radios (shown here as radios 1111a
nature of the probability of the two channels experiencing 65 1111n), such that each radio transmits or receives part of the
interference. Accordingly, in the foregoing example, using a desired information. Splitting techniques implemented
second frequency channel for simultaneous transmission of according to the present invention may comprise dividing the
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aggregated frame into N and adding headers. Of course, other     monitoring link metrics, such as communication quality, and/
splitting techniques may be implemented in addition to or in     or based upon a channel selection hierarchy.
the alternative to the foregoing, if desired. Similar to opera      A system employing DCS is preferably able to rapidly
tion of control and frame selector unit 1020 discussed above,    Switch network nodes from a low quality channel (high inter
control and frame distribution unit 1120 may arbitrate frames    ference level) to a higher quality channel (lower interference
between frame interleaver/deinterleaver unit 1030, passing       level). Scheduler functionality may therefore maintain
the frames in parallel between each of wMACs 1112a-1112n         knowledge of each channels condition. Channel selection
of transceiver 1110. Of course, the foregoing is but one         will preferably take into account the channel traffic load as
embodiment of a frequency/time coding system, and alterna well as the channel condition such that the channel selection
tive embodiments may be utilized according to the present 10 decision is based on combined traffic load and interference
invention.                                                       conditions.
   As with the post data selection interference mitigation           In operation according to one embodiment, a WN is the
techniques discussed above, acknowledgements can be decision maker with respect to channel selection. A SS may
cumulative to provide efficiencies. For example, an ACK 15 report channel conditions to an associated WN (e.g., using
frame may be provided as part of the payload of the frames special measurement reports), the WN may combine this
being transmitted at the opposite direction.                      information with channel conditions measurements per
   It should be appreciated that time/frequency coding inter formed by the WN and add traffic load information to produce
ference mitigation techniques as discussed above provide channel selection decisions. If a channel selection decision is
advantages in bandwidth scalability and higher efficiency. that a channel is to be switched, the WN preferably coordi
For example, when more channels are “clean” (e.g., experi nates the process with the affected SS.
ence less interference and therefore have a high channel qual        In operation according to an alternative embodiment, each
ity), more information can be transmitted. Where 2 channels receiver (e.g., each SS receiver and each WN receiver) selects
are clean, and each channel is capable of 15 Mb/s, approxi its “preferred’ channel for receiving information communi
mately 30 Mb/s can be transmitted using the time/frequency 25 cation, Such as based upon an evaluation of the channel activ
coding interference mitigation technique described above. ity at the respective receiver. Such an embodiment provides
Accordingly, when the channels are not being Substantially for the use of different uplink and downlink channels (e.g., an
interfered, a system implementing time/frequency coding SS may transmit on one channel whereas the corresponding
interference mitigation techniques may transmit N times WN transmits to that SS on another channel) as may be
more data than a system implementing post data selection 30 desirable in particular situations because interference condi
interference mitigation techniques.                               tions may be different at each communication link termina
   The coding rate implemented by a time? frequency coding tion point. In implementing the foregoing embodiment, the
embodiment may be adjusted based on bit error rate. For radios used in a communication link may switch from chan
example, if one channel is clean and the other channel expe nel to channel at the TDD frame boundaries and splitting
riences a 10% bit error rate, a coding rate providing /2 error 35 points.
correction rate may be invoked. In this example, the system          According to a preferred embodiment, SSs have sufficient
may still carry approximately 15 Mb/s (with no re-try). Addi time between their assigned time slots to scan other available
tionally or alternatively, channels experiencing higher levels channels (e.g., in the exemplary implementation, the 3 sector
of interference (poorer quality channel) can be discovered channels in addition to the sector channel then in use by the
throughout operation by monitoring transmission statistics, 40 SS). According to one embodiment, a WN may allocate time
Such that less data is allocated to the poorer quality channels slots in which a SS is to scan channels. Such scanning of
Such that bit error rate can be reduced to require less coding, channels may comprise reception of packets transmitted on
thereby increasing system efficiency.                             the downlink by the WN. These packets may be “beacon
   Another interference mitigation technique, referred to packets, data packets directed to other SSS etcetera. Accord
herein as dynamic channel selection (DCS), may be utilized 45 ing to a preferred embodiment, a SS collects information such
with respect to the multiple channels provided according to as RSSI, CRC errors, physical layer convergence procedure
embodiments of the invention to provide increased efficiency.     (PLCP) errors, and/or the like, on a perchannel and perpacket
Dynamic channel selection may be implemented utilizing basis. For each channel the SS may sum frame error reports
any of a number of communication frontend circuitry, includ and RSSI values to produce a FER and average RSSI per
ing communication front end circuitry 1000 of FIG. 10 and 50 channel. The channel-FER and channel-RSSI info may be
1100 of FIG. 11, having the ability to communicate using a grouped into channel condition reports and sent to an associ
channel selected from a plurality of channels. According to ated WN, such as in time slots allocated by the WN.
embodiments of the DCS interference mitigation technique, a          According to a preferred embodiment, BSs have receivers
transceiver transmits data on a selected channel and uses         tuned substantially full time to each frequency channel. Such
communication link feedback, Such as ARQ or re-try rates, as 55 that no channel scanning need be implemented. Accordingly,
a metric for determining when to switch to a different chan in this embodiment a BS can collect FER and RSSI statistics
nel. For example, if a re-try rate threshold (or other metric on all channels all the time. In case of no uplink activity, the
threshold) is exceeded, the transceiver may coordinate a WN may allocate special probing time slots where associated
change to another channel. Additionally or alternatively, if a SSs can send packets from time to time to allow the WN to
re-try rate threshold (or other metric threshold) is exceeded, 60 collect channel statistics. Where uplink power control is
the transceiver may increase the level of fragmentation (i.e., implemented, it is expected that SSs will be received by an
making the fragments shorter), reduce the data rate, increase associated WN with similar signal strength, allowing a WN to
the interval between fragments, and/or the like to improve the aggregate uplink packets into a combined channel-FER and
error rate. If the foregoing does not result in appreciable channel-RSSI report. Additionally, WNs preferably operate
decrease in the re-try rate (or other metric), such as to fall 65 to monitor downlink queues and the amount of allocated
below a threshold amount, the transceiver may coordinate a uplink bandwidth to estimate channel load, for use in making
change to another channel. Channels may be selected by DCS decisions.
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   In making a determination as to whether to switch a SS spectrum bands using Such standardized channelization and
from one channel to another, DCS algorithms of a preferred frame architectures. Accordingly, economies may be realized
embodiment scheduler functionality considers channel con through taking advantage of the availability of Such equip
ditions, channel traffic load, Scheduling efficiency, and/or the    ment.
like. Channel traffic load may be estimated through such 5 For example, embodiments of the present invention may
information as the average delay or latency experienced in implement an 802.16 like frame structure for scheduled com
transmission of data packets, the Volume of data packets munication with groups of SSS, wherein groups of slots are
transmitted in a immediately preceding window, the average allocated for specific SSs in the downlink and uplink sub
Volume of data packets transmitted, the allocated time slots, frames, as shown in FIG. 3. The size and time location of the
and/or the like. Channel conditions and traffic load may be 10 group within the frames may be determined by Scheduling
expressed as:                                                       processes of the present invention. The foregoing frame struc
       FER:(FER WN+FER SS)*K
                                                                    ture provides advantages Such as facilitating grouping of mul
                                                                    tiple transmissions to allow for a common, single preamble at
where FER WN is the frame error rate on the channel as 15 the           downlink (e.g., for the entire sub-frame), thereby elimi
measured by the WN, FER. SS is the frame error rate on the cies maythebeneed
                                                                    nating             for preamble per SS. Additionally, efficien
                                                                                   realized with respect to other overhead or control
channel as measured by the SS, and K is a proportion factor aspects. Such as by implementing             ARQ through “piggy-back
coefficient as may be determined by simulation, empirical ing the acknowledge character (ACK)                   messages in the slots
data, etcetera. According to a preferred embodiment, if chan coming from the opposite direction. A cumulative              ACK Strat
nel conditions are lower than a predetermined channel egy can additionally or alternatively be employed,                       further
switching threshold (e.g., CHANNEL SWITCH THRESH
OLD), DCS algorithms will start channel-switching process. enhancing link efficiency. Moreover, there is no need to wait
According to a preferred embodiment, the DCS algorithms for an ACK                 before sending a new data, according to embodi
will examine the traffic load on any potential target channels ments,       thereby providing transmission efficiency as the “ACK
and select the one with Sufficient quality and minimum traffic 25 round-trip'     could be a significant portion of the link time line.
                                                                       Accordingly, embodiments of the invention implement a
load for the SS channel change.
   The foregoing interference techniques may be effectively medium  ferred  to
                                                                               access control (MAC) common part Sub-layer (re
                                                                               herein a wMAC), which is modeled after the 802.16
implemented using scheduling techniques for coordinating
the use of alternative resources, such as multiple channels. MAC.            For example, a wMAC of the present invention may
                                                                    Support management interfaces as defined in the 802.16 stan
Communication synchronization and spatial scheduling is 30 dard.
preferably implemented according to embodiments of the betweenAdditionally     a  SS  and  WN
                                                                                             or alternatively, message exchange
                                                                                                may comprise those defined in the
present invention in order to facilitate effective multi-channel 802.16 standard, although
communication. Accordingly, all transmissions using the Such defined messages and/orthemay             wMAC may not support all
                                                                                                          support additional or alter
communication channels available in the system (e.g., fre native messages. Of course, different                 MAC configurations
quency and time division channels) are coordinated and 35 may be utilized according to embodiments                     of the present
scheduled according to embodiments of the present inven invention to achieve the above goals.
tion, except perhaps transmissions in specific contention
slots, such as may be allocated by a WN scheduler. Schedul theAIEEE       preferred embodiment of the present invention supports
                                                                                 802.11 physical layer (PHY), although such an
ing with respect to each WN sector is preferably independent, embodiment            may impose some restrictions on PHY overhead
except for group restrictions imposed by a scheduler of the 40 (preamble, PLCP.          etcetera) and addressing methods. Accord
present invention, such as that of an RFMU, and except for an ingly, an over-the-air          frame of wireless broadband access
ATDD split, where implemented.                                      system 200 may substantially correspond to an 802.11 frame,
   Preferred embodiments of the present invention utilize as shown in FIGS. 4A and 4B wherein frame 410 illustrates a
unlicensed spectrum, Such as that in the 2-11 GHZ range in the typical 802.11 frame and frame 420 illustrates an embodi
United States. Although subject to interference by unrelated 45 ment of a frame which may be used with respect to wireless
communications in the same band, Such unlicensed spectrum broadband access system 200. However, an 802.11 compliant
is freely available and its use according to the present inven MAC may not be able to successfully decode the contents of
tion facilitates an economical wireless broadband access            a wMAC frame of the preferred embodiment. Such a frame
Solution. A further advantage of utilization of such unlicensed configuration is desired according to embodiments of the
spectrum is the existence of standards, such as the IEEE 50 invention in order to facilitate ready use of equipment and
802.16 standard, with respect to its use and the availability of infrastructure in providing wireless broadband access by
components and equipment operable therewith.                        wireless broadband access system 200, even if other systems
   Such standards often set forth protocols including channel using equipment conforming to the same standards are not
ization and frame architectures for use with respect to par communicatively compatible with wireless broadband access
ticular bands of unlicensed spectrum. For example, the IEEE 55 system 200.
802.16 protocols implement time division multiple access               The downlink MAC with respect to wireless broadband
(TDMA) operation, such that transmission time is divided access system 200 of the illustrated embodiment provides
into frames that are split into a downlink Sub-frame and an point-to-multipoint operation. This MAC operation accord
uplink sub-frame wherein the frame size and split point can be ing to embodiments of the invention is independent of the
adjusted as needed. Each sub-frame is divided into slots or 60 actual topology of the network (point-to-point, point-to-mul
individual time slices. Various aspects of such channelization tipoint, mesh). Accordingly, a wMAC of preferred embodi
and frame architectures may be adapted for use according to ments of the invention Supports mesh and/or point-to-point
the present invention, thereby providing economies in devel extensions in addition to or in the alternative to providing for
opment and implementation of a wireless broadband access point-to-multipoint operation.
system.                                                          65    The foregoing point-to-multipoint operation, wherein ser
   Moreover, various manufacturers produce transmitters, Vice to multiple SSS is provided, is leveraged according to
receivers, and other equipment operable in Such unlicensed embodiments of the present invention to provide an addi
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tional source of diversity gain, that being “time diversity.” chosen so that the WNs receive at least a minimum signal
Using time diversity techniques according to embodiments of strength from all SSS while dynamically assigning transmit
the invention, when a SS is unacceptable channel conditions power with respect to WNs).
(e.g., unacceptable C/I). Such as a result of fading or increased       Preferred embodiment schedulers according to the present
interference, the BS can serve another SS experiencing more invention implement a hierarchical scheduling approach to
acceptable channel conditions. This way, the BS can select channel assignment. A first level of such a hierarchical sched
the best channel/SS to be served among a given SS group uling approach may operate to assign channels to groups of
(assuming the conditions are randomly changing and all SSS network devices, such as based upon spatial aspects of the
will be served in turn). Operation according to the foregoing network devices. A second level of such a hierarchical sched
preferably implements fast response and may be imple 10 uling approach may operate to allocate the assigned channels
mented as part of a scheduler executed by a WN.                      among the network devices of a group or groups. This hier
   Quality of service (QoS) definition and control is prefer archical scheduling approach lends itself particularly well to
ably an integral part of the wMAC according to embodiments a configuration in which particular scheduling functionality is
of the invention. Although the 802.16 standard provides a provided centrally and other scheduling functionality is pro
QoS model, it should be appreciated that the 802.16 standard 15 vided in distributed fashion.
does not specify a particular scheduling algorithm to achieve           For example, centrally deployed RFMU 220 (FIG. 2) may
a desired QoS. Accordingly, various wMAC functions, such provide channel assignments as among groups of network
as scheduling, ARQ, fragmentation, packing, and/or the like, devices, perhaps even determining the groupings of the net
are utilized according to a preferred embodiment to work work devices for Such channel assignments. Such a central
together to provide a desired QoS.                                   ized system is able to analyze demand and capacity and
   A QoS model typically involves two major functions, those distribute assignment of resources (e.g., assignment of fre
being admission control and Scheduling. Admission control quency channels, adjust a split between downlink and uplink
limits the number of information flows (as can be thought of portions of a communication sequence, etcetera) to optimize
as active communication links) that are admitted to the sys network communications. BS 221, or perhaps each of WNs
tem based on various system parameters. Scheduling is a 25 210a-210d., 211a-211d, and 212a-212d, upon receiving
real-time function that schedules communications so that the         grouping and channel assignments from RFMU 220, may
QoS can be guaranteed and misbehaving information flows allocate the assigned channels (e.g., assign particular fre
can be shaped.                                                       quency and/or time slot channels) among the network devices
   A scheduler of an embodiment of the present invention or groups associated therewith. Such a distributed approach is
provides traffic shaping and packet scheduling in a configu 30 able to implement a network Scheduling plan without requir
ration which may be easily integrated into a reasonably pow ing exceptional processing power to be implemented with
erful CPU. A scheduler framework implemented according to respect to any particular aspect of the network. In particular,
a preferred embodiments of the invention provide admission the aforementioned distributed scheduler functionality may
control and Scheduling functionality. Embodiments of a be utilized to manage and coordinate the allocation of time
scheduler framework implemented according to the present 35 between WN/SS pairs, such as to avoid the need to respond to
invention further provide the ability to meet service level dynamic variations of hundreds of SSs directly by the fore
agreements (SLAs), a frame-based queuing model meeting going central Scheduler functionality.
various fairness requirements, a work-conserving scheduler              As described in detail in the above referenced patent appli
with rate control, a load-sharing scheduler for excess band cation entitled “Space-Time-Power Scheduling for Wireless
width, and/or congestion control and packet dropping.             40 Networks, scheduling may be utilized as an alternative to
   It should be appreciated that, unlike a wire-line scheduler interference isolation by frequency planning. Aggressive use
that is responsible for scheduling frames in a fixed capacity of Scheduling facilitates the availability and use of a single
channel, a wireless scheduler often copes with a varying channel throughout a service area. Carrying this concept to an
channel capacity, Such as due to interference, link environ extreme, embodiments of the invention provide for availabil
ment, fading, shadowing, etcetera. However, the use of 45 ity and use of all channels throughout a service area.
frames (e.g., TDD frames) may be utilized according to the              Preferred embodiment operation of a scheduler includes
present invention to provide flexibility in optimizing the com the ability to form SS groups (as discussed in detail below),
plexity of scheduling, such as by considering available chan wherein a set of SSS in a SS group possess similar spatial
nel capacity and making assignments on a frame basis.                characteristics (e.g., each member of a given SS group has
   According to embodiments of the invention, a scheduler 50 similar spatial distance (wherein here spatial distance
treats both uplink and downlink queues the same, although between two network nodes is defined as a value that is
allocating appropriate contention slots in the uplink. Traffic proportional to the path loss between them) from a corre
may flow simultaneously between WNs and SSs in both sponding WN) and are serviced by a same WN. Accordingly,
uplink and downlink directions whether on the same channel in operation according to an embodiment of the invention,
in different sectors or on different channels in the same sector, 55 WNs 210a-210d., 211a-211d, and 212a-212d continuously or
wherein network devices using the same channel in the same periodically collect signal reception level (e.g., received sig
sector are queued for serial traffic flow.                           nal strength indicator (RSSI)) and/or other channel quality
   A scheduler according to embodiments of the invention measurements for ones of SSs 201a-201 m, and provide this
provides assignment of communication attributes in addition information and traffic load information to scheduler func
to channels. For example, a preferred embodiment provides 60 tionality. Using this information, a first scheduler function
for transmit power assignment. Such an embodiment may be may make coarse scheduling decisions to allocate channels
implemented where it is determined that it is advantageous (time/frequency) across groups, essentially comprising selec
for various network devices to transmit with different power tion of a subset of radios (radios being used herein to refer to
levels, such as to have WNs transmit with different power a receiver, transmitter, or transceiver operable to provide
levels to the different SSs depending on their distance from 65 communications using a particular frequency channel) which
the WN. Transmit power assignment may be asymmetric, may be utilized for simultaneous transmission. A second
Such as by having the SSS power levels remain constant (e.g.,        scheduler function may make finer levels of scheduling deci
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sions to distribute the allocated channels between members of     FER LINK represents the effective FER on the link when K
the SS group. Such as to meet individual QoS requirements or retries are used to transmit each packet. When the channel
targets.                                                          quality changes slowly, FER LINK equals the true average
   According to a preferred embodiment the coarse scheduler FER. However, when the channel quality changes quickly,
functionality is provided in a centralized implementation 5 FER LINK will be smaller (perhaps very much smaller) than
(e.g., comprising algorithms operable upon RFMU 220 of the true average FER. Calculation of FER LINK provides a
FIG. 2) and the fine scheduler functionality is provided in a
distributed implementation (e.g., comprising algorithms useful            indication of channel quality as affected by external
                                                                  interference   sources and, thus, may be utilized in a total
operable upon a plurality network BSs, such as BS 221 of channel quality              measurement implemented according to
FIG.2). In operation according to one embodiment, the group 10 embodiments of the invention which takes known or predict
members include network nodes for which communication
links will be established with a particular WN using a par able interfering Sources into account.
ticular frequency channel. Determination of such groups may          It should be appreciated that, when multiple network nodes
include identification of groups which may communicate are transmitting on the same channel, internal interference is
simultaneously, groups which may not communicate simul 15 generated. Accordingly, for any combination of transmitting
taneously, a number of frames (or length of time) for which WNs and a given SS a carrier to interference plus noise ratio
the group assignment is to be implemented, a split between (CINR) may be computed with respect to the SS. This CINR
downlink and uplink portions of the communication value may be translated into an equivalent FER (the result of
sequence to be implemented, etcetera. Such group informa the latter translation referred to herein as FER INT). The
tion is provided to the corresponding WN for assignment of total FER experienced by the SS will be approximately the
particular time slots to the network nodes of an assigned sum of the FER due to external interference (FER LINK) and
group to provide individual communications meeting desired the FER due to self-interference (FER INT), assuming that
link metrics. Assignment of time slots to individual network errors in transmission due to external interference and inter
nodes of a group may be based upon channel quality metrics, nal interference occur independently and that the FER is
network node priorities, data type priorities, round-robin or 25 Small. Accordingly, a measurement of total link quality may
fairness allocations, traffic demand, etcetera.                   be calculated using the following equation:
   Channel quality estimation as utilized in a scheduler of the          FER=FER LINK--FER INT.
present invention (e.g., scheduler functionality distributed in
BSs to make scheduling decisions between SSs of a SS group
to meet individual QoS targets) may implement any number 30 Of course, additional or alternative techniques for determin
of channel quality metrics. For example, FER or packet error be   ing channel quality and/or definitions of channel quality may
                                                                      implemented according to the present invention. For
rate measures may be utilized as an indication of link quality. example,
External interference power (I) (interference power associ used to directly  according to one embodiment, system receivers are
ated with external interference sources) on the channel and                         evaluate the activity on a channel to measure
the signal power (C) from a given WN may be translated into 35 energy time density, average power, transmission duration
                                                                  statistics, and/or interval between transmission duration sta
an equivalent FER by calculating a carrier to interference tistics.
(C/I) ratio and using a lookup table for conversion to an FER
value. Additionally or alternatively, FER may be measured            Using the foregoing signal reception level and/or other
directly, Such as by sending probing frames for collecting channel quality measurements, network node grouping may
frame error statistics. Of course, channel quality metrics use 40 be implemented according to embodiments of the invention
ful according to the present invention are not limited to the to assign channels among the groups and facilitate simulta
foregoing.                                                        neous communication links throughout the network. In pro
   According to one embodiment of the invention information viding network node grouping according to one embodiment,
with respect to an average FER on a channel may be deter the nodes of the wireless access network are organized in a
mined using information about the rate at which the channel 45 tree, wherein branches of the network node tree begin with a
quality changes. The rate at which channel quality changes WN connected to the RFMU and leafs may comprise SSS
may be determined by using external interference power (I) serving one or more end users. As shown in FIG. 2, the branch
measurement (or using probing frames as discussed above). level WNs may service one or more SSs.
For example, two time periods may be defined, such as a short        To aid in understanding the concepts of a scheduling pro
period TS (e.g., a few frame lengths) and a long period TL 50 cess implemented according to the present invention, an
(e.g., approximately one hundred frame lengths), for use exemplary embodiment wherein a total of 8 possible sector
determining channel quality changes using the aforemen spatial groupings of network nodes will be described. Spe
tioned external interference power (I) measurement or prob cifically, assuming the case of no interference between chan
ing frames. Every TL Seconds K measurements may be taken nels, all channels are available in all sectors, and 4 sectors are
TS seconds apart such that measurements are taken in bursts. 55 provided with respect to each BS, 8 possible groups with
The closely spaced measurements may be utilized to provide which a SS may be associated comprise: Transmission only in
information regarding fast changes in the channel (e.g., the sector under consideration for a given channel (1 combi
instantaneous channel quality changes) while the different nation), wherein 1 radio is active in the space; Transmission in
bursts are utilized to provide information regarding slow the sector under consideration together with transmission in
changes in the channel (e.g., channel quality change trends). 60 one of the other 3 sectors (3 combinations), wherein 2 radios
   According to one embodiment of the invention, the fore are active in the space; Transmission in the sector under
going channel quality change measurements are converted consideration together with transmission in two of the other 3
into an equivalent FER and the geometric mean of the FER sectors (3 combinations), wherein 3 radios are active in the
values in each burst is computed. Additionally or alterna space; and Transmission in all 4 sectors simultaneously (1
tively, an average of these FER values, over some relatively 65 combination), wherein 4 radios are active in the space. How
longtime period (e.g., 100*TL), may be calculated (the result ever, it should be appreciated that the invention is not limited
of the latter calculation referred to herein as FER LINK). to the foregoing number of network node groupings.
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    It should be appreciated that the example set forth herein is  with   respect  to groups   of SSS. Accordingly, schedules of
with reference to a single channel for simplicity in explaining active radios may be derived from the spatial signatures. Such
the concepts of the present invention. Preferred embodiments that groups of compatible spatial signatures are associated
of the present invention implement a plurality of channels with each schedule of active radios. The schedules of active
(most preferably all channels) in each portion of a service radios, and accordingly the spatial signature groups associ
area. Accordingly, the concepts set forth herein with respect ated therewith, may be assigned a weight Wiwhereie {1,2,3,
to a single channel would be repeated for each Such channel 4} and Wi-Wi+1. According to a preferred embodiment, a
according to embodiments of the invention.                         RSSI analysis process running at RFMU 220 identifies each
   A 4-bit binary vector (e.g., vector (b1, b2. b3, b4), wherein SS with an optimal group, based upon group weighting,
b1-b4 represent each of 4 bits) indicating interfering/non 10 whereby RFMU 220 attempts to increase the size of the
interfering radios, as may be determined by RSSI measure highest-weighted group in the order of W4 to W1. An optimal
ments, can be utilized to represent the above 8 groups. In grouping strategy assigns SSS to one of the eight groups so as
describing vectors indicating non-interfering radios, radios to guarantee a given C/I at the receivers while maximizing the
will be referenced herein with sector ids corresponding to the probability for parallel transmissions.
sector numbers in which they are implemented (see FIG. 2 for 15 Directing attention to FIG. 5, a partial ordering of the 8
sector numbers which are labeled clockwise from 1 to 4). possible groups each SS may be identified with (and corre
Using this nomenclature, radio R1 represents a radio of WN spondingly the schedule of active radios), according to the
210a operating in sector 1 for a given channel. Considering exemplary embodiment described herein, is shown. FIG. 5
for a moment a SS operable in sector 2 the SS is serviced by demonstrates the partial ordering of SS groups based on the
radio R2 (a radio of WN210b operating in sector 2 for a given spatial signature of the group. For a particular schedule of
channel) and indicated by marking bit b2 of the binary vector active radios S, a spatial signature OS may be computed,
(e.g., setting bit b2 to “1” to indicate RSSI with respect to R2 wherein the group with spatial signature O is the most restric
is above a particular threshold). Other bits of the binary vector tive group compatible with S.
(b1, b3, and b4) indicate the status of radios in other sectors       In the illustration of FIG. 5, the upper portion of each box
with respect to the SS. For example, the SS receiving the 25 provides the particular schedule of active radios ordered and
signal of radio R1 (a radio of WN210a operating in sector 1 the lower portion of each box provides a list of the spatial
for the given channel) may be indicated by marking bit b1 of signatures which are compatible with the schedule of active
the binary vector (e.g., setting bit b1 to “1” to indicate RSSI radios. As can be readily appreciated from FIG. 5, schedule of
with respect to R1 is above a particular threshold), and the SS active radios S1=(0, 0, 0, 1) is compatible with all 8 spatial
receiving the signal of radio R4 (a radio of WN 210d operat 30 signatures as shown in box 511. This schedule of active radios
ing in sector 4 for the given channel) may be indicated by is most restrictive with respect to simultaneous transmission
marking bit b4 of the binary vector (e.g., setting bit b4 to “1” and therefor is weighted as W4. Schedules of active radios
to indicate RSSI with respect to R4 is above a particular S=(0, 0, 1, 1), S(0, 1, 0, 1), and S (1,0,0,1) are com
threshold). Likewise, the SS not receiving the signal of radio patible with 4 of the 8 spatial signatures as shown in boxes
R3 (a radio of WN 210c operating in sector 3 for the given 35 521, 522, and 523, respectively. These schedules of active
channel) may be indicated by marking bit b3 of the binary radios are less restrictive with respect to simultaneous trans
vector (e.g., setting bit b3 to “0” to indicate RSSI with respect mission and therefore are weighted as W3. Schedules of
to R3 is below a particular threshold). Accordingly, the binary active radios S=(0, 1, 1, 1), S6=(1, 0, 1, 1), and S=(1, 1, 0,
vector (1,0, 1, 1) may be determined to apply with respect to      1) are compatible with 2 of the 8 possible spatial signatures as
the particular SS. It should be appreciated that in the forego 40 shown in boxes 531,532, and 533, respectively. These sched
ing example, a binary vector bit of “O'” indicates non-inter ules of active radios are even less restrictive with respect to
fering communication with respect to a particular radio Such simultaneous transmission and therefore are weighted as W2.
that communications can be activated in parallel to R2, so that Schedule of active radios Ss=(1,1,1,1) is compatible with 1
the BS may serve more than one SS simultaneously using a of the 8 possible spatial signatures as shown in box 541. This
particular frequency channel when SSS are grouped appro 45 schedule of active radios is least restrictive with respect to
priately.                                                          simultaneous transmission and therefore is weighted as W1.
   Applying the concepts of the foregoing example to each Accordingly, the partial ordering represented by the arrows of
SS, SSS having similar spatial characteristics are assigned a FIG. 5 indicates a greater than relationship, showing all the
same binary vector. Therefore, such a binary vector may be groups of spatial signatures (O) that are compatible with each
utilized in deriving a “spatial signature' with respect to each 50 schedule of active radios (S).
corresponding SS, wherein such a spatial signature provides           This partial ordering is very powerful and gives a lot of
information with respect to the availability of radios for flexibility to the BS to utilize allocated time efficiently, allow
simultaneous use. According to one embodiment of the ing for a more flexible use of group scheduling. Specifically,
present invention, the bits of a binary vector not associated a BS can choose a SS for which to schedule transmissions,
with the sector in which the SS is disposed are flipped, such 55 either on uplink or on downlink, from all the groups whose
that a “1” becomes a “0” and a “0” becomes a “1,” to form a        spatial signature O satisfies the condition (S&& O)=S. For
spatial signature. For example, in the foregoing example, the example, if the central scheduler chooses “1001 as the vector
SS is disposed in sector 3, therefore bit b3 of the binary vector S to activate radios, then any group having “1XX1 (wherein
remains unchanged but bits b1, b2, and b4 are flipped such “X” is a “don’t care' bit) as the spatial signature will qualify
that the spatial signature (0,1,1,0) is determined. The appear 60 to access the channel.
ance of 1's in the spatial signature indicates that the corre         In initially identifying a network node (WN, SS) with a SS
sponding radios, here radios R2 and R3, can be active in group according to one embodiment, each SS is temporarily
parallel to service two SSs in sectors 2 and 3.                    allocated on a unit vector group in the sector of the SS (e.g.,
    It can be seen from the above that preferred embodiment spatial signature (1, 0, 0, 0) for a SS disposed in sector 1) in
spatial signatures provide information with respect to the WN 65 both the uplink and downlink directions, without any explicit
radios operable upon a same frequency channel which may be allocations. Thereafter, the SS may exchange Some special
simultaneously operated to provide communication links packets with the corresponding WN, in order to learn the
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spatial distance of the SS and move it to a better group to         variable). As discussed above, a central Scheduler may
increase the multiplexing factor in the space. In assigning a       specify a spatial signature to be processed by the BSs of the
proper spatial signature for a given SS according to one            wireless broadband access network. As illustrated in the
embodiment, network nodes in the wireless broadband access          embodiment of FIG. 6, each schedule of active radios vector
network in addition to a network node providing a then active        has designated bit positions that correspond to a specific WN
communication link with the SS measure received signal               in a specific sector. Further, each schedule of active radios
strength for both the uplink and downlink transmissions for          vector is preferably associated with a time offset reference to
this SS. This process determines a suitable spatial signature        the start of a frame, thereby enabling WNs to activate radios
vector for the SS, hence classifying the SS into one of the 8        according to a specified pattern. Accordingly, for each frame,
groups.                                                           10 WNs traversing through this list of schedule of active radios
   Furthermore WNs and SSs may continuously monitor the vectors in the order they specified, choosing members (i.e.
status of the channel between each WN and SS pair. A channel SSs) from the eligible groups to grant the access during each
Switching algorithm may be utilized for changing the channel time interval, areassured a minimum of self-interference. The
for SSS experiencing poor channel conditions. After changing scheduler preferably produces commands enabling the net
the channels a BS preferably temporarily assigns this SS to a 15 work nodes to start transmissions during the appropriate
default unit vector group corresponding to a spatial signature downlink periods and/or uplink periods at defined time
compatible only with radio communication on the newly boundaries.
assigned channel in the sector of the SS (e.g., spatial signature       According to an embodiment of the invention, it is
(1, 0, 0, 0) for a SS disposed in sector 1). Thereafter, network expected that the network nodes will know traffic demands
nodes measuring the received signal strength and the RFMU associated therewith. For example, a SS may know the indi
RSSI process of a preferred embodiment assigns the SS sta vidual subscriber's traffic requirements that are to be chan
tion to a proper group according to the rules described above. neled in the uplink to a corresponding WN. Similarly, a WN
   As described above with respect to an embodiment of the may know the bandwidth requirements of each individual SS
present invention, a central scheduler may provide a semi that it serves in the downlink. Such network nodes may map
static schedule over a period of time where network nodes 25 these aggregate bandwidth requirements to a standard scale
(WN, SS) are afforded the opportunity to transmit data in the (e.g., a number of time slots), for use by a scheduler in
downlink and the uplink. An assumption according to one assigning capacity. A network node, for example, may oper
embodiment is that during this period of time neither signifi ate to decide if rising bandwidth requirements can be locally
cant RF changes nor significant bandwidth requirements have resolved without sending an explicit request to a central
changed (e.g., the bandwidth demands of individual groups 30 scheduler, Such as by analyzing the use of the time slots
have not changed). Another assumption according to one allocated to the network node, analyzing the use of the time
embodiment is that the network nodes of a wireless broad             slots utilized by network nodes in the same spatial signature
band access network are synchronized. Such as using Syn group or groups, etcetera. If the network node decides to
chronous clocks, external clock signals (e.g., global position request more capacity (e.g., additional time slots), the node
ing system (GPS) clock signals), and the scheduler advertises 35 preferably computes the additional bandwidth requirements
schedules with reference to this common time.                        in the standard Scale (e.g., how many more time slots to be
   It should be appreciated that a scheduler may choose com demanded in addition to the already allocated slots) to meet
binations of various schedules of active radios S to implement the aggregate bandwidth requirements. Information with
in any particular period of time, e.g., a frame, in order to respect to additional bandwidth demand may be forwarded
provide access to each network node, regardless of its spatial 40 the central scheduler of one embodiment by the network node
signature, having a demand for communication capacity. desirous of the increased communication capacity, perhaps
However, a portion of the particular period of time allocated with information specifying a maximum time delay between
to any Such schedule of active radios may be based upon the successive bandwidth allocations for the network node. The
number of network nodes served in a corresponding spatial central scheduler may operate to attempt to dispense Succes
signature grouping, the amount of communication demand 45 sive grants to the requested node, preferably satisfying the
served by a particular schedule of active radios, etcetera. One aforementioned delay constraint without degrading the allo
or more network nodes may be associated with spatial signa cations associated with other network nodes. Of course. QoS.
ture groups serviceable by multiple ones of the schedules of minimum bandwidth, and other guaranteed link metrics asso
active radios, thereby allowing such network nodes to be ciated with ones of the network nodes may suggest that Such
serviced in multiple groups, such as to provide a desired link 50 time slot allocations take precedent even where degradation
capacity thereto while still providing at least a minimum link of particular other network node links will result. Network
capacity to all active network nodes.                                nodes preferably keep track of the usage of allocated time
   The group allocation process may attempt to optimize slots. In operation according to a preferred embodiment, if a
group assignments to improve the throughput while minimiz            network node detects that the time slots allocated thereto is
ing the total interference among the concurrent transmis 55 above that needed, the network node may communicate with
sions. Accordingly, a preferred embodiment scheduler the central scheduler of one embodiment to release one or
attempts to allocate time to a particular group as a single more Such time slots. As can be appreciated from the forego
contiguous burst to increase the efficiency. However, this ing, in a preferred embodiment network nodes and Scheduler
condition may be subject to other constraints imposed on the functionality, such as a central scheduler operable upon
scheduler.                                                        60 RFMU 220 (FIG. 2) communicate to request bandwidth for a
   Directing attention to FIG. 6, a frame layout of allocations specific group (WN/SS->RFMU), release bandwidth from a
across 4 sectors as may be implemented using a scheduler of specific group (WN/SS->RFMU), inform the success/failure
the present invention is shown. Frame duration of the frame of previous allocations (WN/SS->RFMU), and allocate/de
illustrated in FIG. 6 is subdivided into four main regions, allocate requested bandwidth (RFMU->WN/SS).
including a frame header (preferably fixed length), a down 65 The allocation and release of time slots can be considered
link period (preferably variable length), an uplink period as managing a pool of time slots. According to a preferred
(preferably variable length), and a contention period (fixed or embodiment, a scheduler and the network nodes coordinate to
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respond rapidly in assigning time slots to serve rising band          a type of request to activate a new group. Since this request
width requirements and to respond more slowly in releasing            demands allocation in time, it may or may not successful
time slots associated with falling bandwidth requirements.            depending on the residual time. Accordingly, if the radio
This fast rise/slow decay time slot assignment technique              pattern is not already active, then processing proceeds to step
avoids oscillation between allocation and de-allocation due to        908 wherein a determination is made as to whether the time
short-term bandwidth fluctuations.                                   slots in the downlink which are available are greater than the
   As discussed above, network nodes in each sector may be time slots in the downlink which are demanded. If the time
organized into one or more of 8 potential groups by spatial slots in the downlink which are available are greater than the
signatures as shown in FIG. 5. Directing attention to FIG. 7, time slots in the downlink which are demanded, then the
the aforementioned 8 groups are shown from the viewpoint of 10 bandwidth request is granted at step 907. However, if the time
sector 1, wherein radio R1 of sector 1 is always active with slots in the downlink which are available are not greater than
different combinations of other radios. Similar radio activa         the time slots in the downlink which are demanded, process
tion plans can be made for each sector by considering the ing proceeds to step 909 wherein a determination is made as
spatial signature groups, as shown in the table below wherein to whether the time slots available in the downlink plus the
all the combinations for activating radios possible in the 15 timeslots available in the uplinkare greater than the time slots
exemplary embodiment are set forth.                                  in the downlink which are demanded. If the time slots avail
                                                                     able in the downlink plus the timeslots available in the uplink
                                                                     are greater than the time slots in the downlink which are
                                                                     demanded, then the bandwidth request is granted at step 907,
       Sector 1        Sector 2      Sector 3        Sector 4        perhaps including adjustment of a split between downlink and
         OOO1           OO10           O1 OO           1OOO          uplink portions of a communication sequence. However, if
         OO11           OO11           O101            1001          the time slots available in the downlink plus the time slots
         O101
         1001
                        O110
                         1010
                                       O110
                                       1100
                                                       1010
                                                       1100
                                                                     available in the uplink are not greater than the time slots in the
         O111           O111           O111            1011          downlink which are demanded, then the bandwidth request is
         1011            1011          1101            1101       25 rejected at step 912.
         1101            1110          1110            1110             If at step 904 it is determined that the radio pattern is
         1111            1111          1111            1111          already active, then processing proceeds to step 905 wherein
                                                                     a determination is made as to whether the bandwidth request
   A review of the bit patterns shown in the foregoing table 30 ispattern
                                                                        from a different sector with the same group id. If the radio
                                                                              is already active and if the request came from one of
reveals that there are 16 unique patterns, meaning that in the
exemplary embodiment there are 16 possible radio activation the exiting sectors then this is a type of request to increment
patterns across the network (it being appreciated that the null the size of the allocation of already activated group. Since this
vector (0, 0, 0, 0), wherein all radios are silent, is not shown). request
                                                                     cessful
                                                                              demands allocation in time, it may or may not suc
                                                                              depending   on the residual time. Accordingly, if the
Therefore, these 16 bit patterns represent the schedules of 35
active radios vectors S that are available to be communicated        bandwidth request is determined not to be from a different
to BSs facilitating BSs choosing possible groups of SSS based sector with the same group id, then processing proceeds to
upon spatial signatures.                                             step 908, the operation of which is described above. However,
   The 15 schedules of active radios vectors (omitting the null entitsector
                                                                     if  is determined that the bandwidth request is from a differ
vector) are shown in FIG. 8, wherein the subscripts corre 40 step 906. with the same groupid, then processing proceeds to
spond to sectors of the active radios. These consecutive                At step 906, a determination is made as to whether the time
unique values can be easily organized in an array (radio vector slots      allocated are greater than the time slots demanded. If the
array) with each value uniquely identifying a data structure already          reserved time period Talloc for a particular group is
describing the properties of a particular radio pattern. This greater than          the demanded time Tdemand for that particular
data structure can hold various properties, such as whether the 45 group, then the     request does not require any explicit alloca
radio pattern is active or not, how long this specific radio tion in time. If Talloc         less than Talemand then the RM should
pattern is active during a frame (i.e. how many slots are to adjust the already allocated time interval for this group.
assigned on the corresponding group), etcetera.                      Accordingly, if the time slots allocated are greater than the
   According to a preferred embodiment, a reservation man time slots demanded then processing proceeds to step 907,
ager (RM), such as may be operable as a part of the central 50 wherein the bandwidth request is granted. However, if it is
ized scheduler, assigns some time period Talemand (e.g., an determined that the time slots allocated are not greater than
integer multiple of slot length) for each of the demanded the time slots demanded, then processing proceeds to step
groups for the uplink and/or the downlink, and actives the 910. At step 910 a determination is made as to whether the
corresponding radio vector. Thereafter, network nodes may time slots available in the downlink plus the time slots allo
make explicit requests for downlink and uplink bandwidth 55 cated in the downlink are greater than the time slots
depending on the current requirements.                               demanded in the down link. If the time slots available in the
   Operation of a RMinservicing bandwidth requests accord downlink plus the time slots allocated in the downlink are
ing to one embodiment is shown in the flow diagram of FIG. greater than the time slots demanded in the down link, then
9. The flow diagram of FIG.9 begins at step 901, wherein the processing proceeds to step 907, wherein the bandwidth
RM receives a new bandwidth request. At step 902, a groupid 60 request is granted. However, if the time slots available in the
of the network node making the bandwidth request is downlink plus the time slots allocated in the downlink are not
obtained, such as from the bandwidth request itself. The radio greater than the time slots demanded in the down link, then
structure for the identified group is retrieved at step 903, such processing proceeds to step 911. At step 911 a determination
as by using the group id to directly access this structure.          is made as to whether the time slots available in the downlink
   At step 904 it is determined if the radio pattern associated 65 plus the time slots allocated in the downlink plus the time
with the retrieved radio structure is already active. If the radio slots available in the uplink are greater than the time slots
pattern corresponding to the request is not active then this is demanded in the downlink. If the time slots available in the
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downlink plus the time slots allocated in the downlink plus the between full coordination and no coordination, embodiments
timeslots available in the uplinkare greater than the time slots of the invention may implement limited coordination, Such as
demanded in the downlink, then processing proceeds to step by using different transmit power levels on different channels
907 wherein the request for bandwidth is granted, perhaps such that sectors facing each other will use different transmit
including adjustment of a split between downlink and uplink power levels for the same channel. The latter 2 of the above
portions of a communication sequence. However, if the time coordination techniques may be preferred according to par
slots available in the downlink plus the time slots allocated in ticular embodiments because of their relative simplicity. In
the downlink plus the time slots available in the uplink are not these situations, the other BSs may be treated as any other
greater than the time slots demanded in the downlink, then un-controlled interference source. To guarantee acceptable
processing proceeds to step 912 wherein the request for band 10 performance, each WN’s activity may be controlled such that
width is rejected.
     Pseudocode for implementing aspects of the foregoing the                   transmission duty cycle on each channel/sector will be
                                                                            limited   (e.g. <25%). This limitation can be successfully
flow diagram are set forth below, wherein:                                  achieved    as a result of the scheduling process described
Ta -aiiable'P is total bandwidth available for allocations in the
    downlink;                                                            15 above,  since  system capacity Substantially increases and a
                                                                            Smaller  percentage
Ti(g) is bandwidth already allocated for the group, i.e., service. If the transmission           of the time is needed to Support the desired
      g’, in the downlink:                                                                                duty cycle is kept relatively mod
Taeman f(g) is bandwidth requested by group g; and                          erate, transmission failures due to collisions can be easily
T. is total bandwidth available for allocations in the fixed by re-transmission (ARQ).
    uplink.                                                                    Directing attention to FIG. 12, a portion of a wireless
Pseudocode
                                                                            broadband    access network operable in an unlicensed band
                                                                            implementing aspects of the forgoing embodiments is shown.
                                                                            As can be appreciated from the detail shown in FIG. 12, the
                                                                         25
                                                                            illustrated embodiment implements 802.11 related compo
//available bandwidth plus already allocated bandwidth is enough to         nents as building blocks to achieve the functionality
satisfy the new demand                                                      described above. Specifically, BS 221 of the illustrated
  F (Tavailabi. "Tallocat, (g) Taemand (g))                                 embodiment includes a set of 802.11a access points adapted
       Allocation is successful
 ELSE                                                                       to operate as WNs 210a-210d., 211a-211d, and 212a-212d.
                                                                         30 BS 221 further includes Ethernet switch 1210, power supply
i? available bandwidth plus already allocated bandwidth is not enough to
satisfy the new demand                                                      1230, and T1 or other wireline termination (not shown). RF
f/try to burrow from the uplink period
  F (Tavailabi. "Tallocat, "Tavailabi. Tamand)                              router 1220 of BS 221 shown in FIG. 12 is adapted to provide
       Allocation Successful                                                RF manager functionality, such as that described above with
 ELSE                                                                     respect to RFMU 220.
     No available bandwidth in the system to meet the demand
//available bandwidth is enough to satisfy the new demand              35    SSs 201a and 201e illustrated in FIG. 12 comprise a mul
 F (Tavailabi. Taemand)                                                   tiple radio access point (e.g., 802.11 “a”, “b', and 'g'), and
    Allocation is successful
 ELSE
                                                                          preferably include a router and Ethernet bridge as may be
i? available bandwidth is not enough to satisfy the new demand            built into the access point architecture. Accordingly, such SSS
// try to burrow from the uplink period                                   may be used as a bridge/router enabling terminal equipment,
  F (Tavailablet Tavailable Taemand)                                   40 Such as desktop and laptop computers, to be connected to the
    Allocation Successful
 ELSE
                                                                          network via Ethernet cable, 802.11b, or 802.11g connections.
     No available bandwidth in the system to meet the demand
                                                                          Ofcourse, the use of the 801.11 “a”, “band'g'' protocols can
                                                                          be interchanged such that “b’ or 'g' can be used for connec
                                                                            tion to the BS while 'a' is used for connection to the terminal
   It should be appreciated that the formulas shown with 45 equipment. It should be appreciated that, according to a pre
respect to the pseudocode and the flow diagram of FIG. 9 are ferred embodiment, the 802.11 access points are used mostly
with respect to the downlink. However, these formulas of the for the PHY and the hardware, and the 802.11 MAC is
illustrated embodiment are equally applicable to the uplink.    replaced to allow the access point to function as described
   Although embodiments have been described above with above. The foregoing configuration provides for a low cost
respect to a SS communicating with a particular BS in estab 50 Solution for both the BS and the SS.
lishing information communication, it should be appreciated        Although the present invention and its advantages have
that the concepts of the present invention are applicable to been described in detail, it should be understood that various
multiple BS communication operations. Specifically, the pro changes, Substitutions and alterations can be made herein
vision of alternative resources with respect to the BSs of a without departing from the invention as defined by the
wireless broadband access network of a preferred embodi 55 appended claims. Moreover, the scope of the present appli
ment provides flexibility with respect to scheduling and inter cation is not intended to be limited to the particular embodi
ference mitigation using multiple BSS with respect to a par ments of the process, machine, manufacture, composition of
ticular SS.                                                     matter, means, methods and steps described in the specifica
   To extend the multi-channel operation across the whole tion. As one will readily appreciate from the disclosure, pro
network embodiments of the present invention may extend 60 cesses, machines, manufacture, compositions of matter,
the time/space/frequency scheduling throughout the network means, methods, or steps, presently existing or later to be
Such that all BSs transmissions are coordinated (e.g., extend developed that perform substantially the same function or
ing the above two tier scheduling to the entire network). achieve Substantially the same result as the corresponding
Alternatively, multi-channel operation may be extended embodiments described herein may be utilized. Accordingly,
across the whole network by leaving the different BSs unco 65 the appended claims are intended to include within their
ordinated, although this approach may lead to some degrada Scope such processes, machines, manufacture, compositions
tion as a result of transmission collisions. As a middle ground of matter, means, methods, or steps.
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                                                     US 7,769,050 B2
                             27                                                                   28
  What is claimed is:                                                    Such that data is divided for transmission on said at least
   1. A method for providing wireless communication, the                  two channels for time/frequency coding.
method comprising:                                                     6. The method of claim 1, wherein the step of mitigating
   providing a plurality of frequency channels in each of a interference comprises:
      plurality of portions of a service area, wherein the plu         limiting transmission duty cycles of network nodes with
      rality of frequency channels are in an unlicensed fre               respect to each active channel of said plurality of chan
      quency band, wherein a same frequency channel of the                nels.
      plurality of frequency channels is provided for use in           7. The method of claim 3, wherein the dynamically deter
      two or more adjacent portions of the service area; and        mined communication link metrics comprise one of interfer
   mitigating interference associated with external interfer 10 ence level information, signal propagation level information,
      ence Sources by making particular channels of the plu traffic load information, and quality of service information.
      rality of channels available for use by network nodes            8. The method of claim 1, wherein said mitigating interfer
      disposed in the portions of the service area according to ence comprises assigning a different channel of said plurality
      a two tier scheduling strategy,                               of channels for use by a particular network node in an uplink
  wherein a first tier of the scheduling strategy includes 15 and9.aAdownlink.
                                                                            wireless communication network system, comprising:
      assigning the plurality of frequency channels to each
      portion of the service area at a relatively slow pace;           a plurality of communication sectors of a service area,
  wherein a second tier of the scheduling strategy includes               wherein each communication sector has a plurality of
      allocating the assigned frequency channels resulting                network nodes and a plurality of channels associated
      from the first tier of the scheduling strategy among the            therewith, and wherein adjacent ones of said communi
                                                                          cation sectors have at least one same channel of said
      network nodes disposed in each portion of the service               plurality of channels associated therewith; and
      area in real-time; and                                           channel   management control apparatus making particular
  wherein the network nodes are selected for simultaneous
      use of said particular channels as a function of spatial 25         channels  of said plurality of channels available for use
      characteristic groupings of said network nodes.                     by  the network  nodes as a function of external interfer
                                                                          ence experienced with respect to one or more channels
   2. The method of claim 1, wherein the step of mitigating               of said plurality of channels,
interference comprises:                                               wherein the channel management control apparatus imple
   Selecting a channel from said plurality of channels for                ments an at least two tier channel Scheduling strategy:
      communication with a particular network node using 30 wherein a first tier of the channel scheduling strategy
      adaptive dynamic channel selection to identify a channel            includes assigning the plurality of channels to each com
      having a best communication attribute with respect to               munication sector at a first rate, and where a second tier
      said network node.                                                  of the channel scheduling strategy includes allocating
   3. The method of claim 1, wherein the step of mitigating               the assigned channels resulting from the first tier of the
interference further comprises:                                  35       channel scheduling strategy among the network nodes in
   Selecting a time division of said particular channels for use          each communication sector in real-time, the first rate
      in communicating with particular network nodes based                being less than real-time;
      upon dynamically determined communication link met              wherein the first tier of the channel scheduling strategy
      rics.                                                               assigns transmission time period opportunities to com
   4. The method of claim 1, wherein the step of mitigating 40            munication network base station nodes to Support
interference comprises:                                                   groups of Subscriber station nodes;
   Selecting at least two channels from said plurality of chan        wherein the second tier of the channel Scheduling strategy
      nels for communication with a particular network node               assigns transmission time periods among Subscribersta
      Such that transmission of identical data on said at least           tion nodes of the groups of subscriber station nodes; and
      two channels is provided for post data selection.          45   wherein the channel management control apparatus makes
   5. The method of claim 1, wherein the step of mitigating               a different channel of the plurality of channels available
interference comprises:                                                   for use by a particular network node in an uplink and a
                                                                          downlink.
   Selecting at least two channels from said plurality of chan
      nels for communication with a particular network node
